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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,
v.                                                              Case No. 21-mj-691
AVERY MACCRACKEN,
           Defendant



                                               ORDER

          Upon consideration of the Defendant’s health and in the interest of justice, it is hereby

          ORDERED that the United States Marshals Service STAY Defendant’s removal to the

District of Columbia. Defendant must remain at the detention facility he is currently housed. It is

further

          ORDERED that if the Government believes it is in the interest of justice to transfer

Defendant to the District of Columbia, the Government must file a motion requesting Defendant’s

transfer and explaining the basis for the request.

          SO ORDERED.


                                                                                Zia M. Faruqui
                                                                                2021.12.29
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                                                         _________________________________
                                                         THE HONORABLE ZIA M. FARUQUI
                                                         UNITED STATES MAGISTRATE JUDGE
